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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

ACCENTURE LLP,                                        )
                                                      )
              Plaintiff,                              )
                                                      )
              v.                                      )    Case No. 1:17-cv-1013
                                                      )
MARC A. BOUDRIA; ROSS A. MCINTYRE;                    )    Judge:
MATTHEW L. MURRAY; and JOHN J. TODOR,                 )
                                                      )
              Defendants.                             )
                                                      )

            VERIFIED COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

       Plaintiff Accenture LLP (“Accenture”), for its Verified Complaint for Injunctive Relief

and Damages against Defendants Marc A. Boudria (“Boudria”), Ross A. McIntyre (“McIntyre”),

Matthew L. Murray (“Murray”), and John J. Todor (“Todor”) (collectively, the “Defendants”),

alleges as follows:

                                   NATURE OF THE CASE

       1.      This is an action for immediate and permanent relief from a wrongful, well-

orchestrated, and clandestine campaign by a group of former Accenture employees to steal

Accenture’s trade secrets relating to its digital consulting and innovation unit (including source

code), to raid Accenture’s employees, and to engage in solicitation of Accenture clients, all in an

effort to form a competitive start-up digital consulting firm, HyperGiant, LLC (“HyperGiant”).

       2.      In 2015, Accenture spent tens of millions of dollars to acquire the Defendants’

then-employer, a creative technology studio, Chaotic Moon, LLC (“Chaotic Moon”).                 In

connection with that acquisition, Accenture retained as full-time employees Chaotic Moon’s

CEO and founder, Benjamin Lamm (“Lamm”), its Chief Revenue Officer, John Fremont
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(“Fremont”), and a number of the studio’s employees, including Will Womble (“Womble”) and

Defendants Boudria, McIntyre, Murray, and Todor.

       3.      In just over two years, Lamm, Womble, and Fremont were gone from Accenture.

They then induced, encouraged, and conspired with Defendants, who were then still Accenture

employees, to form a business competitive with Accenture—HyperGiant—and, in anticipation of

such formation, to leverage their status as trusted Accenture employees to solicit other Accenture

employees and to misappropriate copious amounts of Accenture confidential, proprietary, and

trade secret information.

       4.      In furtherance of Defendants’ deliberate scheme, and in coordination with Lamm

Fremont, and Womble, Defendants plotted and executed their defection from Accenture willfully

and maliciously. In the months prior to their abrupt resignations from Accenture and immediate

hire by HyperGiant, Defendants, in breach of their statutory, contractual, and fiduciary duties to

Accenture, assisted in laying the groundwork for HyperGiant’s formation, solicited other

Accenture employees to defect, and, without authorization, copied, removed, and absconded with

Accenture’s confidential, proprietary, and trade secret information.

       5.      Accenture’s investigation is ongoing, but it has revealed, among other things,

Defendants’ direct theft of Accenture’s trade secrets, including artificial intelligence source code.

The investigation has also revealed that Defendants engaged in extensive communications in

furtherance of their scheme among themselves and their co-conspirators. Defendants attempted

to hide those communications by conducting them on what they thought were secret

communication sites inaccessible to Accenture and by using secret code names for each other.

Defendants then took deliberate steps to destroy all evidence of those communications.

Accenture, however, was able to find some (but not all) of the communications through its




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forensic recovery of data. The evidence obtained to date reveals a covert and concerted effort

involving Defendants, Lamm, Womble, and others, acting in concert with one another, to begin

what they called a “stealth” startup technology company, HyperGiant, to compete directly with

Accenture, to solicit its employees, to solicit its clients, and to steal its trade secrets, all in

conscious disregard of the contractual, common law, and statutory duties owed to Accenture.

Accenture’s investigation is ongoing.

       6.      As a result of the wrongful acts described above, Accenture has suffered, and will

continue to suffer, irreparable harm.       The immediate purpose of this lawsuit is to secure

temporary and permanent injunctive relief to: (i) prevent further misappropriation of Accenture’s

confidential, proprietary, and trade secret information; and (ii) to prevent further violations of

Defendants’ contractual, statutory, and common law obligations. Accenture also seeks to obtain

substantial monetary damages and other relief for the ongoing harm Defendants’ unlawful

actions have caused and will continue to cause to Accenture.

                                          THE PARTIES

       7.      Plaintiff Accenture LLP is a limited liability partnership organized and existing

under the laws of the State of Illinois, with its principal place of business in Chicago, Illinois.

       8.      Defendant Marc A. Boudria is a citizen of Texas who resides at 300 E. Riverside

Drive, Apt. 314, Austin, Texas 78704. At Accenture, Boudria was employed as a Research and

Development Lead and served as a member of the Marketing Team and Go-to-Market Team.

Boudria is a current employee of HyperGiant.

       9.      Defendant Ross A. McIntyre is a citizen of Texas who resides at 8901 Cima

Circle, Austin, Texas 78737.        While employed by Accenture, McIntyre was a Business

Development Lead, and served as a member on the Go-to-Market Team, focused on product




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strategy. McIntyre is currently working as the Vice President of Strategy of HyperGiant.

       10.     Defendant Matthew L. Murray is a citizen of Texas who resides at 7606 Kiva

Drive, Austin, Texas 78749. Murray was formerly employed by Accenture as a Research and

Development Lead and member of the Marketing Team.            Murray is currently working as

HyperGiant’s Director of Research and Development and Lead Creative Technologist.

       11.     Defendant John J. Todor1 is a citizen of Texas who resides at 4305 Twisted Tree

Drive, Austin, Texas, 78735.      While employed by Accenture, Todor was a Senior Sales

Manager. Todor is currently working at HyperGiant.

                                 RELEVANT NON-PARTIES

       12.     HyperGiant, LLC, a Delaware limited liability company with a principal place of

business in Texas, is an artificial intelligence consultancy competing with Accenture in the

digital consulting and innovation space.

       13.     Benjamin E. Lamm is a former Accenture Managing Director, who served as a

Digital Practice and Offering Executive. Lamm is currently working as HyperGiant’s President

and Chief Executive Officer.

       14.     John C. Fremont is a former Accenture Managing Director, who served as a

Digital Transformation Executive. Fremont is currently employed by HyperGiant.

       15.     Will A. Womble is a former Accenture Managing Director who served as Sales

Lead at Accenture. Womble is currently employed by HyperGiant.




1      Accenture and Todor are parties to an Arbitration Agreement, but that agreement
expressly authorizes Accenture to secure temporary and preliminary injunctive relief in a court
of competent jurisdiction.


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                                 JURISDICTION AND VENUE

       16.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 and 1367.

Accenture’s claims arise, in part, under federal law, specifically the Defend Trade Secrets Act of

2016, 18 U.S.C. § 1831 et seq. Additionally, pursuant to 28 U.S.C. § 1367, this Court has

supplemental jurisdiction over Accenture’s state law claims because all of the claims are so

related to each other that they form part of the same case or controversy. This Court also has

diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332. The amount in controversy

for each claim exceeds $75,000 exclusive of interest and costs, and Accenture, unlike every

Defendant, is not a citizen of Texas; thus complete diversity of citizenship exists.

       17.     This Court has personal jurisdiction over Defendants because they are citizens of

Texas, misappropriated Accenture’s trade secrets in Texas, committed tortious acts against

Accenture in Texas, and breached contractual obligations owed to Accenture in Texas.

       18.     Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(b) because all or

a substantial part of the events giving rise to these claims occurred in this district, including

Defendants’ misappropriation of Accenture’s confidential, proprietary, and trade secret

information. Venue is also proper in this district as all Defendants reside in this district.

                                   FACTUAL BACKGROUND

                                       Accenture’s Business

       19.     Accenture is a leading global professional services company providing a range of

strategy, consulting, digital, technology, and operations services and solutions.

       20.     Accenture develops and delivers integrated services and solutions for its clients

through its five businesses, including Accenture Digital.             Accenture Digital combines

Accenture’s capabilities in interactive, digital marketing, analytics, and mobility to help its

clients use digital technologies to deliver more meaningful and relevant customer experiences


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across all channels and customer segments, as well as to create new products and business

models and to optimize the efficiency and effectiveness of their internal operations.

        21.     Accenture Interactive, part of Accenture Digital, works with leading brands to

drive superior design, content, commerce, and marketing performance across the full

multichannel customer experience. Recognized as one of the world’s largest and fastest-growing

digital agencies, Accenture Interactive offers integrated, industrialized, and industry-driven

digital design transformation and marketing solutions to capitalize on opportunities emerging as

a result of increased digital interactions.

        22.     Accenture has invested hundreds of millions of dollars in recent years to build and

to strengthen Accenture Interactive’s design capabilities, including the 2013 acquisition of Fjord

(“Fjord” or “Accenture Fjord”), a global service design and innovation consultancy that

specializes in creating wide-ranging digital experiences and services for consumers across

platforms including smart devices, tablets, and PCs.

        23.     Fjord, which now operates as the design and innovation unit within Accenture

Interactive, leverages its extensive design and innovation capabilities and robust methodologies

to create and deliver on complex strategy and service design and digital products.

        24.     Accenture Interactive and Fjord’s digital solutions and products integrate multi-

faceted artificial intelligence, which is a collection of advanced technologies that allows

machines to sense, comprehend, act, and learn. For example, machine learning is an artificial

intelligence technology that provides systems with the ability to learn without being explicitly

programmed. Integrated analytics provide a basis on which data sets can be harnessed by

machine learning algorithms to adapt and improve their performance. Biometrics is another

artificial intelligence application that gives intelligent systems the ability to gather data on facial




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features and other demographics. Robotic process automation allows organizations to deploy

intelligent software systems that mimic the actions of human users. These intelligent systems

interpret existing applications to process transactions, manipulate data, and communicate with

other systems.

       25.       In Defendant Boudria’s own words: “AI [artificial intelligence] will impact

EVERYTHING. . . . The risk that your competition will get it right and have created ‘magic’ is

very    real,     and    that    risk    alone    changes      the    competitive     environment.”

https://www.fjordnet.com/conversations/brands-bots-beyond/.

       26.       Accenture Interactive and Fjord’s creation of groundbreaking digital services and

products, which often integrate a variety of types of artificial intelligence, requires intense, long-

term research and development efforts. Significant resources are devoted to developing and

testing source code and product architectures and extensive prototyping, which are integral to the

process of conceptualizing, refining, and finalizing an inventive solution, service, or product.

       27.       Accenture has expended, and continues to expend, millions of dollars and

countless resources developing, maintaining, and updating the proprietary, confidential, and

trade secret information used in Accenture Interactive and its Fjord unit, including, but not

limited to: source code; coding conventions, standards, patterns, and libraries; software

architectures; product design and development, product prototypes and demos; know-how;

research and development; marketing plans and strategies; techniques and methods; and

customer information.

       28.       Such confidential, proprietary, and trade secret information is not known in the

industry or by the general public. It would be extremely difficult for a competitor to either acquire

or reverse-engineer Accenture’s confidential information using publicly-available sources. Use of




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Accenture’s confidential information by competitors in the industry would negatively impact the

competitiveness of Accenture’s design and innovation business and cause irreparable harm.

    Accenture Has Enacted Significant Measures to Safeguard its Sensitive Information

       29.      Accenture’s confidential, proprietary, and trade secret information is critical to its

success, and Accenture has enacted significant measures to safeguard the confidentiality of such

information. Accenture requires all employees to sign intellectual property agreements, which

include provisions prohibiting the improper use or disclosure of confidential information. The

intellectual property agreements also require employees to assign to Accenture all intellectual

property rights to any inventions, intellectual property, materials, documents, or other work

product created, developed, or improved by the employee at any time during their Accenture

employment and within the scope of such employment and/or with the use of any Accenture

resources.

       30.      In addition, Accenture requires employees to have an electronic proximity access

card for physical building access; restricts access to confidential information to only those

employees with a need to know such information; restricts computer access by user name and

password and multi-factor authentication tokens; and restricts access to certain areas of its

facility to authorized employees only. Accenture employees also receive annual mandatory

training on information security.

       31.      Accenture has also implemented and maintained numerous policies outlining its

security measures and expectations concerning privacy and communications.              For instance,

Accenture’s Confidentiality Policy provides, in part:

       Employees shall protect confidential information that is entrusted to them or to
       which they are otherwise exposed. Employees may not use or disclose any
       confidential Company, client, or third-party information to anyone outside the
       Company, except as authorized. Under no circumstances may an employee
       discuss with clients matters that concern other clients or engagements without the


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       express authorization of such other clients.

       Within the Company, disclosures of confidential information should occur only
       on an as-needed basis, and when such discussions are necessary, they should
       never be held in a public place . . . under circumstances where they could be
       overheard. If an employee leaves the Company for any reason, he/she must return
       all Company and client or third-party materials acquired during his/her
       association with the Company. An employee’s obligations with respect to
       confidential information apply even after association with the Company ends.2

                              Accenture Acquires Chaotic Moon

       32.     To meet rapidly increased market demand in differentiated customer experience,

digital product creation, and the evolution of artificial intelligence and augmented reality,

Accenture has devoted significant resources to expand its design and innovation capabilities.

       33.     On July 21, 2015, Accenture strengthened its full suite of marketing and digital

services by acquiring Chaotic Moon, a creative technology studio based in Austin, Texas. The

multi-million dollar acquisition of Chaotic Moon, which excelled in digital design, prototyping,

experience strategy, and development, provided Accenture with expanded rapid prototyping and

creative technology capabilities. In the fall of 2016, Chaotic Moon was absorbed into Fjord, and

now continues its operations in Austin, Texas as Fjord Austin.

         Defendants’ Employment with and Contractual Obligations to Accenture

       34.     In connection with the Chaotic Moon acquisition, Accenture extended offers of

employment to most of Chaotic Moon’s employees, including Lamm, Fremont, Womble, and

Defendants.

       35.     Lamm began his employment at Accenture as a Managing Director in the role of

Digital Practice and Offering Executive and continued to be considered within Accenture as the

CEO of Chaotic Moon. Fremont was also hired by Accenture as a Managing Director in the role


2      A true and correct copy of Accenture’s Confidentiality Policy is attached hereto as
Exhibit A.


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of Digital Transformation Executive. Womble was hired by Accenture as a Sales Lead and, in

the course of his Accenture employment, ascended to a Managing Director position.

       36.     Defendant Boudria was hired into a Research and Development Lead role, and,

during his Accenture employment, served as a member of the Marketing Team and Go-to-

Market Team.

       37.     Murray was hired into a Research and Development Lead role, and, during his

Accenture employment, served as a member of the Marketing Team.

       38.     In Boudria’s and Murray’s roles, they were at the forefront of Fjord’s research

and product development efforts. Boudria and Murray engaged in initial ideation and concepts;

formulated and refined design concepts and recommendations; assessed clients’ technology

systems to make recommendations on approach and technological architecture; and, using source

code developed by Boudria and Murray, developed demos and created functional hardware and

software prototypes for clients and for Accenture marketing purposes.

       39.     Defendant McIntyre began his Accenture employment as a Product Strategy

Lead. In this role, McIntyre focused on bringing innovative work to Fjord, especially that which

focuses on digital product creation and emerging experiences.          McIntyre helped determine

Fjord’s strategic pursuits and created tactical long- and short-term roadmaps. He also conducted

market, product, landscape and competitive research, auditing, and analyses, and was an active

contributor to proposals, pitches, and presentations to Fjord’s current and prospective clients.

       40.     Todor began his Accenture employment in the role of Senior Sales Manager. In

this capacity, Todor maintained close relationships with Chaotic Moon’s and Accenture’s clients

and prospective clients; identified business opportunities; identified potential prospects; and

developed and implemented sales strategies. He also conducted market, product, landscape and




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competitive research, auditing, and analyses, and was an active contributor to proposals, pitches,

and presentations to Fjord’s current and prospective clients.

       41.     The Defendants were all well-compensated by Accenture. Over the course of

their Accenture employment, the Defendants’ annual base salaries rose to: Todor, $165,400 (and

an additional $270,000 in compensation on top of his salary); Boudria, $108,900 (and an

additional $50,000 in compensation on top of his salary); McIntyre, $152,600; and Murray,

$115,300.

       42.     In their positions, and as part of agreeing to their Conditions of Employment

Agreements and Intellectual Property Agreements, Defendants were entrusted with significant

amounts of Accenture confidential, proprietary, and trade secret information, including

information relating to source code; product development; technological research; product

marketing and sales strategies; client lists; client engagements; and project profits and pricing. If

a competitor had access to this information, it could potentially use such information to destroy

the competitive advantage that Accenture has spent years and tens of millions of dollars

acquiring and developing. Indeed, with access to such information, a competitor would have the

ability to map out the overall workings of Accenture’s design and innovation unit and could

replicate the very technology and design strategies that are the core of that unit.

       43.     In October 2015, Accenture formally extended offers of Accenture employment

to the Defendants. As made clear in the offer letters, Defendants were each required to sign a

Conditions of Employment Agreement and an Intellectual Property Agreement as a condition of

employment.

       44.     Defendants each accepted Accenture’s offer by countersigning their offer letters.

By executing the offer letters, Defendants agreed as follows:




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       During your employment or upon your release or resignation, you agree not to
       release, retain, copy or utilize in any manner any confidential, privileged, or
       proprietary information or property of Accenture or its clients. All discoveries,
       inventions, or techniques developed in the course of your employment belong to
       Accenture and will be disclosed and assigned to Accenture by you.

       45.     In connection with their Accenture employment, each of the Defendants also

signed, among other things, a Conditions of Employment Agreement and an Intellectual Property

Agreement.3

       46.     In executing the Conditions of Employment Agreements, Boudria, McIntyre, and

Murray agreed to abide by a one-year client non-solicitation obligation as follows:

       If you leave Accenture, for 12 months after release or resignation, you agree not
       to, directly or indirectly, perform professional services for, or solicit for the
       purpose of performing professional services for: (a) any client of Accenture for
       whom you performed professional services during the 18 months prior to release
       or resignation; and (b) any prospective client of Accenture (any person or entity to
       which you submitted a proposal concerning which you assisted in the preparation
       or submission of a proposal during the 18 months prior to release or resignation).
       For purposes of this agreement, professional services means services that are the
       same or substantially similar to the services you provided while at Accenture.

       47.     The Conditions of Employment Agreements signed by Boudria, McIntyre, and

Murray also contained an eighteen-month employee non-solicitation clause as follows:

       During your employment with Accenture and for 18 months thereafter, you agree
       not to (i) directly or indirectly, recruit, solicit or otherwise induce any Accenture
       personnel to end their relationship with Accenture or (ii) interfere with the
       performance by any such persons of their duties for Accenture.

       48.     In executing the Conditions of Employment Agreements, Boudria, McIntyre, and

Murray agreed to certain non-disclosure obligations, as follows:

       Upon your release or resignation, you agree not to release, retain, copy or utilize
       any confidential, privileged, or proprietary information or property of Accenture
       or its clients. All discoveries, inventions, or techniques developed in the course of


3      True and correct copies of Defendants’ signed offer letters, Intellectual Property
Agreements, and Conditions of Employment Agreements are attached hereto as Composite
Exhibits B through E.


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       your employment with Accenture belong to Accenture and will be disclosed and
       assigned to it by you.

       49.     Todor’s Conditions of Employment Agreement, governed by New York law, also

contained a one-year client non-solicitation obligation as follows:

       If you leave Accenture, for 12 months after release or resignation, you agree not
       to, directly or indirectly, perform professional services within the territory for, or
       solicit for the purpose of performing professional services for: (a) any client of
       Accenture for whom you performed professional services during the 18 months
       prior to release or resignation; and (b) any prospective client of Accenture,
       “prospective client of Accenture” is defined as any person or entity to which you
       submitted a proposal concerning which you assisted in the preparation or
       submission of a proposal during the 18 months prior to release or resignation.

       50.     In executing the Conditions of Employment Agreement, Todor also agreed to a

one-year employee non-solicitation clause as follows:

       During your employment with Accenture and for 12 months thereafter, you agree
       not to (a) directly or indirectly, recruit, solicit or otherwise induce any Accenture
       employee or any Accenture contractor to end their relationship with Accenture or
       (b) interfere with the performance by any such persons of their duties for
       Accenture.

       51.     In signing the Intellectual Property Agreements, Boudria, McIntyre, and Murray

agreed to further non-disclosure restrictions:

       Unless I first secure the written consent of Accenture, I shall not use, divulge,
       disclose, communicate, reveal, share, provide access to, transfer, copy, distribute
       or publish any Confidential Information at any time, either during or after my
       employment by Accenture, except to partners, employees or authorized agents of
       Accenture, and solely to the extent I must do so to perform my assigned duties for
       Accenture.

       Upon the expiration or termination of my employment with Accenture for any
       reason (i) I shall cease and not thereafter commence any and all use of
       Confidential Information and Accenture Works (as defined in Section 2(a)), and
       (ii) at any time upon Accenture’s request, I shall promptly, at Accenture’s option,
       deliver to Accenture or destroy, delete or expunge all originals and copies of any
       Confidential Information in any form or medium in my possession or control
       (including any of the foregoing stored or located in my office, home, laptop or
       other computer that is not Accenture property) and shall notify and fully




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       cooperate with Accenture regarding the delivery or destruction of any other
       Confidential Information of which I am aware.

       52.      Todor’s Intellectual Property Agreement, governed by New York law, similarly

provided:

       Unless I first secure the written consent of Accenture, I (1) shall use, access or
       copy Confidential Information at any time only as required to perform my
       assigned duties for Accenture and (2) shall not disclose, communicate, share,
       provide access to, transfer, or otherwise make available any Confidential
       Information at any time, either during or after my employment by Accenture,
       except to partners, employees or authorized agents of Accenture, and solely to the
       extent I must do so to perform my assigned duties for Accenture.

       Upon the expiration or termination of my employment with Accenture for any
       reason (or at any earlier time at Accenture’s request), (1) I shall cease and not
       thereafter commence any and all use of Confidential Information and Accenture
       Works (as defined in Section 2(a)), and (2) I shall promptly, at Accenture’s
       option, deliver to Accenture or destroy, delete or expunge all originals and copies
       of any Confidential Information in any form or medium in my possession or
       control (including any of the foregoing stored or located in my office or home or
       on a laptop, tablet computer, smartphone, storage device or any other device that
       is not Accenture property returned to Accenture) and shall notify and fully
       cooperate with Accenture regarding the delivery or destruction, deletion or
       expunging of any other Confidential Information of which I am aware. If,
       notwithstanding the foregoing, I use Confidential Information after the period of
       my employment by Accenture in the Creation (as defined in Section 2(a)) of any
       Works (as defined in Section 2(a)), either alone or with others, such Works shall
       constitute Accenture Works and shall be owned solely by (and are hereby
       assigned, transferred and conveyed to) Accenture, as described in Section 2(a).

       53.      “Confidential Information” is defined in the Intellectual Property Agreements to

include all confidential, propriety or non-public information, ideas, concepts, techniques,

methods, processes, plans, strategies, know-how, materials and documents relating to or

concerning the past, present, or future business activities and operations of Accenture, including,

without limitation, products, services, sales, marketing, client identities, and details of specific

client engagements. See Intellectual Property Agreements, ¶ 1(a).

       54.      In signing the Intellectual Property Agreements, the Defendants agreed to comply




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with all Accenture policies and guidelines regarding the protection of Confidential Information

and intellectual property. See Intellectual Property Agreements, ¶ 3(c).

       55.     Accenture is entitled to injunctive relief in the event of a breach of the Intellectual

Property Agreements by Defendants, each of whom specifically acknowledged that a material

breach would irreparably harm Accenture, and Accenture would not have an adequate remedy at

law. Therefore, Defendants agreed that, in such event, Accenture may obtain injunctive relief,

without posting of bond or other security, in addition to any other remedies Accenture may have.

See Intellectual Property Agreements, ¶ 4(b).

       56.     In addition to the confidentiality obligations in the Intellectual Property

Agreements, Defendants also expressly agreed to abide by ongoing confidentiality obligations

within Accenture’s HR Policies, including its Confidentiality Policy, by executing an HR

Policies Acknowledgement Form in November 2015.4

       57.     Defendants’ executions of the Conditions of Employment Agreements and the

Intellectual Property Agreements were knowing, willful, and informed.

       58.     Accenture has fully performed all of its obligations to Defendants, including all

conditions precedent under the Conditions of Employment Agreements and the Intellectual

Property Agreements.

       59.     The Conditions of Employment Agreements and the Intellectual Property

Agreements are supported by adequate consideration, are reasonable in scope, and are not more

extensive than is reasonable and necessary for Accenture to protect its legitimate business

interests, including but not limited to its confidential information and trade secrets, stable

workforce, client relationships, and goodwill.


4      True and correct copies of Defendants’ signed Policies Acknowledgement Forms are
attached hereto as Composite Exhibit F.


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       60.     At the time they were executed, the Conditions of Employment Agreements were

ancillary to or part of Defendants’ employment with Accenture and Accenture’s promise to

provide Defendants access to confidential, proprietary, and trade secret information and exposure

to Accenture’s clients, all of which Accenture in fact provided to Defendants.

                                  Departures from Accenture

       61.     Lamm separated from Accenture on or about January 8, 2016.

       62.     Womble separated from Accenture on or about January 25, 2017.

       63.     Fremont resigned from Accenture without notice effective July 21, 2017.

       64.     On September 1, 2017, Boudria, Murray, and Todor—highly valuable employees

within Accenture Fjord—all came into the office, typed out departure emails, and unexpectedly

and suddenly walked out the door, resigning without notice. McIntyre resigned without notice

on September 5, 2017. Boudria, McIntyre, Murray, and Todor all failed to provide Accenture

with any information regarding their future employment plans.

       65.     The Defendants, along with Lamm, Fremont, and Womble, have reunited at

HyperGiant, an artificial intelligence consultancy competing with Accenture in the digital

consulting and innovation space. Lamm serves as HyperGiant’s President and CEO. The

Defendants, as well as Fremont and Womble, serve in high-level research and development,

strategy, sales, and marketing roles at HyperGiant.

                          Accenture’s Investigation to Date Reveals
                          Conspiracy to Form Competing Company
       66.     Following the mass and sudden resignations of Defendants, and notice that its

clients were being solicited by Defendants, Accenture promptly launched an investigation.

       67.     Accenture’s investigation is ongoing, but it has revealed, among other things, the

direct theft of trade secrets by Defendants, as well as voluminous communications among the



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Defendants and their co-conspirators in furtherance of their scheme. They attempted to hide

these communications by conducting them on what they thought was a secret communication

site inaccessible to Accenture.       Defendants then sought to destroy evidence of those

communications, but Accenture was able to find some of them through its forensic review.

       68.     The evidence obtained to date reveals a covert and concerted effort involving

Lamm, Fremont, Womble, Defendants, and others, acting in concert with one another, to begin

what they called a “stealth” startup technology company, HyperGiant, to compete directly with

Accenture, to solicit its employees, to solicit its clients, and to steal its confidential information

and trade secrets, all in conscious disregard of the contractual, common law, and statutory duties

owed to Accenture.

       69.     Beginning in late January and early February 2017, McIntyre, Womble, Boudria,

and Todor commenced discussions concerning their desire to leave Accenture and begin

competing with it. In a February 5, 2017 communication to Womble, McIntyre stated that he,

Boudria, and Todor are “ready to break out with you and start our own agency,” which Todor

had suggested they name the “Bro-ligarchy.”

       70.     The Defendants, in concert with Lamm and Womble, continued to coordinate

their departure and competition with Accenture in the following months. Indeed, the iMessage

conversations reveal the following (as detailed in Paragraphs 71–85, 87–94, infra):

       71.     On April 21 and 22, 2017, McIntyre invited a current Innovation Account

Manager at Accenture (the “Manager”), to join the scheme of departing Accenture and working

at a competing firm with Lamm. McIntyre encouraged the Manager to join, “Let’s go make with

the sorcery,” to which the Manager responded, “I’m in all the way.” McIntyre told the Manager

that “Boudria is the only remaining element.”         The Manager responded, “He needs to be




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protected and empowered. We need to create the space for him to perform and he’ll be on board.

. . . [W]e need to take care of each other. This is gonna take some grit.” McIntyre responded:

“We are gonna have to be aggressive.”

       72.       On April 25, 2017, McIntyre and the Manager discussed pitching innovation

proposals to artificial intelligence executives, who could serve as angel investors in the startup.

McIntyre and the Manager then turned back to planning their departures from Accenture, with

McIntyre saying, “Extracting ourselves from Fjord will likely prove challenging.” The Manager

responded, “We wouldn’t right away. We would prove we could make it work in fjord first.

Then have an expansion plan . . . I love this. It’s so fun.”

       73.       On May 9, 2017, Boudria spoke to Lamm and agreed to meet with Lamm in his

offices the following Monday to learn about opportunities at another of Lamm’s new companies,

Conversable, an artificial intelligence-driven software company. Boudria then sent a message to

McIntyre regarding their plan to leave Accenture and join Lamm, stating, “There is nothing that

stops us from bring[ing] [Lamm’s] solutions to our clients” and that he and McIntyre could use

their positions at Accenture “to let [their] clients know about that [i.e., Lamm’s] technology and

loop them in.”

       74.       Making their motivations clear, Boudria then added that he and McIntyre would

“get taken care of on the backside” because it is “time for our piece of the f--king pie,”5 and that

they could sell Lamm’s competing technology to Accenture clients. They further set out their

plan to solicit Accenture clients by writing that they could sell the other company’s technology

to specific, listed Accenture clients “right now.”




5      This quote has been modified only to remove the writer’s profanity.


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       75.     The Defendants, in coordination with Lamm and Womble, continued to plan their

scheme through the summer. McIntyre talked to Todor on June 19, 2017, and reported back to

Womble that Todor was “eager to hear more about the Next Big Thing.” Womble then invited

McIntyre on June 21 to attend a previously-scheduled meeting for the next day with Lamm,

adding that it “will all make sense tomorrow.” Later that day, McIntyre reported to Boudria,

“Now, the only issue is salary.”

       76.     McIntyre then set out to recruit Tom Rivituso (“Rivituso”)—a Los Angeles-based

product manager working for a separate digital agency with whom McIntyre had worked

previously—to join the HyperGiant team by setting up a call with Womble. McIntyre offered to

be on the call, to which Womble—a licensed Texas attorney—responded, “Let’s you and I visit

first via phone before we proceed. I see great value in you being on call, but also want to protect

us legally.”

       77.     Later that day, McIntyre contacted Rivituso and said he (McIntyre) was “joining a

startup that I want you to be part of” based in Austin, Texas that is an “AI [Artificial

Intelligence] consultancy.”    Continuing their pattern of hiding their plans, after Rivituso

responded that he may be interested, McIntyre stated, “Excellent. I’ll try to figure out next steps.

It’s all very DL [down low] for now for a variety of reasons.” McIntyre then told Rivituso to

give his name, number, and email address to Womble, cautioning, “But it’s all extremely

confidential right now, so use utmost discretion.”

       78.     On June 27, McIntyre, Boudria, and Todor met with Womble to discuss follow-up

questions about the HyperGiant formation.

       79.     The next day, McIntyre asked Womble whether he should book a trip to the

annual Accenture Fjord conference being held in Berlin the week of September 11. McIntyre,




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referencing an apparent effort to undermine Accenture, asked Womble, “Book and cancel or just

divert and distract?” Womble responded, “If timing sucks for Acn [Accenture] when we go . . .

they can jump in a lake.”

       80.     In July 2017, the Defendants circulated work product materials for HyperGiant.

On July 3, 2017, McIntyre sent Womble what he described as a “rough example of a deliverable

shell” and said he would be working further on it with Boudria and a current Digital Experience

Architect (the “Architect”) in Accenture Fjord. On July 7, McIntyre followed up to ask if

Womble had reviewed the document, and Womble replied that he would “review in a bit.”

       81.     On July 7, Todor set up a call with McIntyre, Boudria, and the Architect, during

which McIntyre asked the group to review what are believed to be Accenture materials and said

they “can replace temp material with things that are MI [machine intelligence] focused.”

McIntyre then added that he is “comfortable replacing most of the text with Lorem Ipsum [filler

replacement text], too, to further distance from its origins”, i.e., to hide the fact that the materials

were original Accenture materials.

       82.     That day, in an apparent effort to conceal the Defendants’ HyperGiant

communications, Boudria created and invited the other Defendants, Lamm, Womble, and others

to join a private channel on Discord, a text and voice communications application that they

believed would keep their communications hidden.

       83.     After Boudria suggested that they not use their own names, Defendants, Lamm,

and Womble assumed secret code names for themselves in an apparent effort to try to conceal

their true identities and hide their plans. On Discord, Lamm went by the code name “Zeus,”

Womble went by “Pretty boy,” McIntyre was “Beetle,” Todor went by “Theyohmbyes,” and

Boudria was “Gahiji.”




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        84.     The Defendants, Lamm, and Womble continued to work on the HyperGiant

document over the next several days, and they continued to have some sporadic discussions via

iMessage, an application more accessible to Accenture. As a reminder to use the secret Discord

channel rather than the more open iMessage, Boudria stated to them on iMessage, “Cough use

discord cough.”

        85.     On July 9, McIntyre asked Todor if he had “an updated deck.” Todor responded

that he sent it to “Will [Womble] to review first.” When Todor asked McIntyre about his

availability to work on the deck the next day, McIntyre responded it was “not something I can

realistically work on in the office,” but that he may be able to work from home in order to do so.

On July 11, Todor told McIntyre that the deck content was “good to go” and that it was saved on

Discord (i.e., their secret communications channel).

        86.     The preparation to leave Accenture and unlawfully compete intensified in August

2017. On August 1, 2017, one month prior to Defendants’ mass defection, HyperGiant was

formed and incorporated under the laws of the State of Delaware.

        87.     On August 2, while still an Accenture employee, McIntyre wrote Boudria and

stated, “So happy to escape. . . Aside from Ethan and Carley (and obviously those of us leaving),

f--k ’em.”6 Boudria then referenced his lack of effort on behalf of Accenture, remarking, “Yeah

we just float at this point that’s all I’ve [been] doing.”

        88.     On August 5, McIntyre asked Boudria when they should begin discussing salaries

with HyperGiant. Boudria suggested having a conversation with Womble and said that he

(Boudria) had already spoken with Fremont (who went by the code name “Vikingblood” on the

Discord application). McIntyre then spoke with Todor and said, “it will be interesting to see



6       This quote has been modified only to remove the profanity of the writer.


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what offer letters look like.” Referring to their continuing secrecy, Todor reminded McIntyre,

“we need to stay zipped up about HG [HyperGiant]”.

       89.     That day, Womble—a former Texas assistant district attorney who is, upon

information and belief, fully cognizant of the laws surrounding spoliation and the destruction of

evidence—instructed Todor to delete any and all HyperGiant correspondence from Womble or

Fremont and to remove Womble and Fremont from the Discord channel.

       90.     Apparently anticipating future litigation, Womble reasoned that he wanted to

cover his tracks “due to Accenture legal paperwork that we all signed.” Womble asked Todor to

relay his message that he wanted to “remove himself from the trail.”

       91.     Todor conveyed Womble’s instruction to destroy evidence to Boudria, who

inquired as to whether they should “kill the discord channel.” Boudria and Todor agreed it was

best to remove Womble and Fremont from the channel so the HyperGiant work residing on the

channel would not be lost. Boudria then removed Lamm from the channel as well.

       92.     On August 8, McIntyre continued the solicitation of the Architect (who was then

still employed with Accenture) to join the defection, asking the Architect to call him. McIntyre

stated that he wanted to check in and give the Architect updates on HyperGiant.

       93.     On August 20, McIntyre asked Womble if he registered the Internet address

hypergiant.ai. Womble responded that he had, and then asked McIntyre if he needed any help

communicating with Lamm.         Womble added, “we’ve got deals coming in. So exciting.”

McIntyre responded, “Really excited. I’ll reach out once the offer letters go out.”

       94.     On August 21, Lamm, HyperGiant’s President and CEO, sent Murray an email

attaching a HyperGiant offer letter and wrote, “Matt, it was great chatting with you last week.

Thank you again for reaching out. Per our conversation, I would like to offer you a position with




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my new stealth startup – HyperGiant.” Lamm then followed up with Murray with a call.

McIntyre also received a HyperGiant offer letter on or about August 21.

                          Defendants Misappropriate Accenture’s
                   Confidential, Proprietary, and Trade Secret Information

       95.     In furtherance of their intention to join HyperGiant, shortly before abruptly

resigning from Accenture, and in violation of their statutory, contractual, and common law duties

to Accenture, Defendants began, in concert with HyperGiant, Lamm, Fremont, and Womble,

secretly and without authorization to copy, access, and remove various confidential, proprietary,

and trade secret materials from Accenture’s computer systems, and took active steps to attempt

to conceal their unlawful activities.

Defendant Mark Boudria

       96.     Accenture’s ongoing forensic investigation reveals that Boudria downloaded

critical Accenture confidential, proprietary, and trade secret information from his Accenture

computer before resigning. On September 1, 2017, the day he abruptly resigned, Boudria

plugged a USB device into his Accenture computer and downloaded confidential Accenture

information from his Accenture computer to the USB device. That same day, Boudria also

accessed many Accenture documents that had previously been downloaded to the USB device,

including highly confidential artificial intelligence information, such as: artificial intelligence

source code; artificial intelligence training files; customer information and preferences; and other

strategic business information. By way of example, Boudria accessed a zip file on the USB

device that contained psychometric artificial intelligence source code used by Accenture in

existing proprietary and commercial applications; artificial intelligence models specifically

designed for various software applications; and artificial intelligence training files. That device




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was not returned to Accenture, and, upon information and belief, remains in the possession of

Boudria.

       97.     On the date of his resignation, Boudria also copied from his USB device to his

Accenture computer a number of confidential and trade secret documents, including the artificial

intelligence source code referenced above and a file detailing Accenture’s key strategies and

opportunities, and the associated costs and benefits, that Accenture had generated for a certain

multi-million dollar per year client. Shortly thereafter, Boudria permanently deleted over 32,000

files, including documents, system files and digital storage caches, which had the effect of

concealing his computer activities. Accenture believes that Boudria’s purpose in copying the

USB files to his Accenture computer was to enable him to upload the documents to a cloud

storage account where he (or others) could access them from any computer with an internet

connection. Because Boudria took active steps to conceal his activities as described above,

however, Accenture’s investigation into whether Boudria uploaded the transferred USB files to a

cloud storage account remains ongoing.

       98.     On this same day, Boudria also deleted his iMessage and Discord

communications with the other Defendants. The ongoing forensic investigation also reveals that

Boudria had already performed work for Conversable and HyperGiant prior to his Accenture

resignation. His Accenture computer hosted files linked to a Conversable email associated with

Boudria. Boudria also possessed a link to an online storage application, Box.com, where he

appears to have stored Conversable files. Boudria also accessed a source code hosting online

site, Chilligence, which contained HyperGiant source code files that he could access while at

work at Accenture.

Defendant Ross McIntyre




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       99.     Accenture’s ongoing forensic investigation reveals that McIntyre stored

Accenture’s confidential, proprietary, and trade secret information on iCloud, a personal cloud

storage application, and on his personal external storage devices. This information includes a zip

file of Accenture’s pricing and other financial information, customer information and

preferences, know-how, research and design, business methods, strategies, and processes. One

of these files was a comprehensive 128-page overview of an Accenture Fjord client engagement,

which included proprietary research and analysis and concept and prototype strategies. McIntyre

also possessed a file named “Strategy Template.xlsx,” which contains Accenture’s confidential,

proprietary, and trade secret pricing information. McIntyre’s personal external storage devices

were not returned to Accenture, and, upon information and belief, the devices remain in the

possession of McIntyre. Accenture does not have access to McIntyre’s iCloud account, which,

upon information and belief, remains in control of and accessible to McIntyre.

       100.    McIntyre also appears to have begun working for HyperGiant before he left

Accenture. McIntyre’s Accenture computer also contained documents that appear to reflect such

work on behalf of HyperGiant, including:

        “HG_Content”

        “Keynote\Documents\Hypergiant_DeliverablePrototype.pdf”

        “HG_McIntyre_082217.pdf”

        “HG_Content_Good Quality.pdf.”

       101.    A number of the HyperGiant-related documents located on McIntyre’s Accenture-

issued computer were created by wrongful repurposing of Accenture documents containing

confidential and/or trade secret information.




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          102.   The documents titled “HG_Content” and “HG_Content_Good Quality.pdf”—

each of which contains an Accenture copyright designation—were 130-page strategy documents

that were built upon a pre-existing Accenture final strategy presentation for a large Accenture

client. This Accenture final strategy presentation contained Accenture trade secret information,

including client technology strategies and operational capability information.

          103.   In July 2017, while working at Accenture, McIntyre also accessed a file titled

“HyperG Phase Breakdown.docx,” which is a comprehensive breakdown of each phase of a

project    lifecycle,   including:   strategic   assessment;   data   identification,   analysis,   and

operationalization; and delivery oversight.

Defendant Mathew Murray

          104.   Accenture’s ongoing forensic investigation reveals that on August 22 and 23,

2017, shortly before his sudden resignation, Murray used two external hard drives to create

backups of all of the Accenture information on his computer, which included significant amounts

of Accenture’s proprietary, confidential, and trade secret information. Analysis of his Accenture

computer appears to show mass copying of Accenture data, including folders titled

“Development, Documents, and Projects,” on August 23, 2017. When he resigned, Murray

claims to have turned in one backup drive. Even if this is true, however, upon information and

belief, he remains in possession of four devices, including a drive containing what appears to be

a backup of his Accenture computer.

          105.   On August 21, 2017, Murray transferred Accenture source code to Digital Ocean,

a third-party hosting provider, without authorization by Accenture. Upon information and belief,

Murray remains in possession of this Accenture source code, which would be highly valuable to

HyperGiant.




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       106.    Murray used at least five methods of communications with the other Defendants:

Polymail; iMessage; HipChat; personal email; and Discord.             The majority of the actual

communications were deliberately deleted prior to Murray’s departure, consistent with Boudria’s

direction that he destroy all communications evidence.

Defendant John Todor

       107.    Forensic analysis reveals that Todor likewise misappropriated Accenture’s

confidential, proprietary, and trade secret information. On August 29, 2017, three days before

his Accenture resignation, Todor connected an external device he named “xo terabyter,” to his

Accenture-issued computer.       Todor’s own external device contained several documents

reflecting Accenture’s trade secret and confidential sales, business, and financial information.

       108.    In addition, it has been reported to Accenture that two weeks prior to Todor’s

Accenture departure, he instructed an Accenture marketing associate to provide a report to him

of all Accenture Fjord clients. This client information is maintained as highly-sensitive data.

Indeed, Accenture tracks all individuals who access the data.

       109.    Todor also used a number of communication applications to communicate with

the other Defendants regarding HyperGiant. He used HipChat, Skype, iMessage, and Discord

for this purpose. On Aug. 5, 2017, Todor instructed McIntyre, Murray, and Boudria to delete

their communications, to get off of Discord, and to delete data to conceal their activities.

       110.    Prior to his departure from Accenture, however, he deleted these communications

from his Accenture computer in an apparent effort to conceal his activities.

       111.    Immediately before leaving, Todor also deleted 15,000 computer files on his

Accenture work computer.




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All Defendants

       112.    Defendants had no legitimate purpose for seeking reports on and downloading

and transferring to personal storage devices Accenture’s confidential, proprietary, and trade

secret information in anticipation of their departures from Accenture.

       113.    This information would be of great value to Accenture’s competitors, including

HyperGiant.

       114.    Upon information and belief, Defendants remain in possession of Accenture’s

confidential, proprietary, and trade secrets that they accessed and retained without authorization

and are using such information in connection with the business of HyperGiant.

        Defendants Exploit Accenture’s Confidential, Proprietary, and Trade Secret
       Information to Solicit Accenture Clients in Breach of Contractual Obligations

       115.    In their employment with HyperGiant and in coordination with HyperGiant,

Lamm, Fremont, and Womble, Defendants have solicited and are actively soliciting Accenture

clients in breach of the client non-solicitation obligations in their respective Conditions of

Employment Agreements and are utilizing and exploiting Accenture’s confidential, proprietary,

and trade secret information in doing so.

       116.    Indeed, Accenture was informed that two weeks prior to his Accenture departure,

Todor instructed a marketing associate to run a report on all Accenture Fjord clients. Upon

information and belief, Todor did this with the intention of providing the list to HyperGiant and

has in fact done so.

       117.    On September 7, 2017, not even a full week after his abrupt resignation from

Accenture, Todor solicited a very significant, multi-million dollar client of Accenture Fjord on



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behalf of HyperGiant. Todor had worked with this client and received Accenture confidential

information regarding the client while employed at Accenture.           Furthermore, Todor had

absconded with Accenture confidential, proprietary, and trade secret information related to this

client when he stole Accenture information as described above. In the September 7, 2017

correspondence, Todor wrote, “Last Friday was my last day at what was formerly known as

Chaotic Moon. A core group of us (and growing) have broken off to form a new company called

HyperGiant. Do you have some time in the next few weeks to hear our elevator pitch?”

       118.    Defendants’ improper solicitation of Accenture clients is ongoing. For example,

Accenture recently learned that Boudria, on behalf of HyperGiant, and, upon information and

belief, in coordination with Defendants, submitted a competitive proposal for an artificial

intelligence project of a multi-million dollar Accenture client. As a result, Accenture was forced

to significantly lower its pricing and make other concessions to retain this project. Boudria, who

knows Accenture Fjord’s pricing, worked on this project for months while employed with

Accenture. When Boudria abruptly resigned from Accenture, he absconded with confidential

and proprietary documents relating to this major client.

       119.    The continued improper solicitation of Accenture clients by Defendants puts

Accenture’s legitimate protectable interests at grave risk, including its confidential information,

trade secrets, goodwill, and customer relationships.

       120.    The continued improper solicitation of Accenture’s clients by Defendants has

caused and will continue to cause irreparable harm for which no adequate remedy at law exists.

       121.    As a direct and proximate result of Defendants’ breach of their Conditions of

Employment Agreements as described above, Accenture has suffered and will continue to suffer

substantial injuries and damages.




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       Defendants Solicit Accenture Employees in Breach of Contractual Obligations

       122.    Defendants’ improper solicitation of Accenture employees, in coordination with

HyperGiant, Lamm, Fremont, and Womble, as set forth in detail above, has been extensive and is

ongoing. Indeed, in Todor’s September 7, 2017 unlawful solicitation of an Accenture client,

described above, Todor boasted that a core group, “and growing,” of what was Chaotic Moon

have broken off into HyperGiant.

       123.    Accenture’s ongoing forensic investigation has uncovered that Lamm, upon

information and belief in coordination with Defendants, recently solicited Jesse Sims, then an

Accenture Fjord Art Director, to join HyperGiant. As a direct result of this solicitation, Sims

announced his departure from Accenture on September 26, 2017, with his resignation effective

September 29, 2017. Unearthed iMessage chat conversations reveal that Lamm instructed Sims

to not disclose to anyone at Accenture that Sims was going to work for HyperGiant.

       124.    Moreover, Lamm, upon information and belief in coordination with Defendants,

very recently successfully solicited an Accenture Fjord Art Director, Chris Klee, to join

HyperGiant.    Two days after Klee was offered a position at HyperGiant, he tendered his

Accenture resignation.

       125.    Lamm, upon information and belief in coordination with Defendants, also

recently unsuccessfully attempted to recruit and hire an Accenture Fjord Content Design Lead.

       126.    The continued improper solicitation of Accenture employees by the Defendants

puts Accenture’s legitimate protectable interests at grave risk, including its confidential

information; trade secrets; goodwill; customer relationships; and its interest in maintaining a

stable workforce of employees, particularly in its Austin office.

       127.    The continued improper solicitation of Accenture’s employees by Defendants has

caused and will continue to cause irreparable harm for which no adequate remedy at law exists.


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                                    COUNT I
  MISAPPROPRIATION OF TRADE SECRETS IN VIOLATION OF DEFEND TRADE SECRETS ACT
                             18 U.S.C. § 1831 et seq.

       128.    Accenture realleges and restates all prior paragraphs as if fully restated herein.

       129.    As set forth above, Defendants have improperly acquired, remain in possession

of, used, and disclosed certain confidential and proprietary information of Accenture constituting

“trade secrets” as defined by 18 U.S.C. § 1839(3), including source code, product development

plans, product prototypes, pricing information, and client proposals. These trade secrets have

been used in and/or were intended for use in interstate and/or foreign commerce. Accenture is

the licensee of such information.

       130.    Accenture has taken reasonable precautions to protect and to maintain the value of

its trade secrets, including as described above.

       131.    Accenture’s trade secrets derive independent economic value, actual or potential,

from not being generally known to, and not being readily ascertainable through proper means by,

competitors who can obtain economic value from the disclosure or use of the information.

       132.    Defendants’ improper acquisition and/or unauthorized use or disclosure, actual or

threatened, violates the Defend Trade Secrets Act (“DTSA”).

       133.    Defendants stood in a position of trust to Accenture and had contractual and legal

duties to refrain from disclosing or using for their benefit, or that of a third party, Accenture’s

trade secrets. These duties arose from, among other things, Defendants’ Intellectual Property

Agreements, the Conditions of Employment Agreements, the fiduciary duties Defendants owed

to Accenture, and Accenture’s policies.

       134.    Defendants acquired Accenture’s trade secrets through improper means, including

by theft. Defendants’ acquisition of Accenture’s trade secrets through improper means was not




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authorized by Accenture and violated Defendants’ fiduciary and contractual duties, Accenture’s

policies, and the DTSA.

        135.   Defendants have improperly acquired, used, disclosed, or threatened to acquire,

use, or disclose Accenture’s trade secret information with full knowledge that this information

was acquired under circumstances giving rise to a duty to maintain its secrecy or limit its use and

was acquired by improper means.

        136.   Accenture has suffered and will continue to suffer damages and irreparable harm

as a direct and proximate result of Defendants’ misappropriation of Accenture’s trade secrets.

As a direct and proximate cause of Defendants’ misappropriation of Accenture’s confidential and

proprietary trade secrets, Defendants have been unjustly enriched and Accenture has sustained

damages in an amount to be proven at trial. In lieu of damages measured by any other methods,

the damages caused by Defendants’ misappropriation may also be measured by imposition of a

reasonable royalty.

        137.   Defendants’ conduct constitutes willful and malicious misappropriation within the

meaning of the DTSA. In wrongfully and intentionally misappropriating and threatening to

misappropriate Accenture’s trade secrets as outlined above, Defendants have demonstrated

specific intent to cause substantial injury or harm to Accenture. As such, Accenture is entitled to

an award of exemplary damages and an award of its reasonable attorneys’ fees pursuant to the

DTSA.

        138.   Unless     Defendants   are   preliminarily   and   permanently    enjoined    from

misappropriating, and/or threatening to misappropriate Accenture’s trade secrets, Accenture will

suffer irreparable harm for which there is no adequate remedy at law.




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                                        COUNT II
                     MISAPPROPRIATION OF TRADE SECRETS IN VIOLATION
                        OF THE TEXAS UNIFORM TRADE SECRETS ACT
                      TEX. CIV. PRAC. & REM. CODE § 134A.001 et seq.

       139.    Accenture realleges and restates all prior paragraphs as if fully restated herein.

       140.    As set forth above, Defendants have improperly acquired, remain in possession

of, used, and disclosed certain confidential and proprietary information of Accenture constituting

“trade secrets” as defined by the Texas Uniform Trade Secrets Act (“TUTSA”), TEX. CIV. PRAC.

& REM. CODE § 134A.001 et seq., including source code, product development plans, product

prototypes, pricing information, and client proposals.

       141.    Accenture’s trade secrets derive independent economic value, actual or potential,

from not being generally known to, and not being readily ascertainable by proper means by,

persons and entities in the competing market who can obtain economic value from their

disclosure or use.

       142.    Accenture’s trade secrets are the subject of efforts that are reasonable under the

circumstances to maintain their secrecy and confidentiality, including as described above.

       143.    Defendants’ improper acquisition and/or unauthorized use or disclosure, actual or

threatened, violates the TUTSA.

       144.    Defendants stood in a position of trust to Accenture and had contractual and legal

duties to refrain from disclosing or using for their benefit, or that of a third party, Accenture’s

trade secrets. These duties arise from, among other things, Defendants’ Intellectual Property

Agreements and Conditions of Employment Agreements, the fiduciary duties Defendants owed

to Accenture, and Accenture’s policies.

       145.    Defendants acquired Accenture’s trade secrets through improper means, including

by theft. Defendants’ acquisition of Accenture’s trade secrets through improper means was not



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authorized by Accenture and violated Defendants’ fiduciary and contractual duties, Accenture’s

policies, and the TUTSA.

       146.    Defendants have improperly acquired, used, disclosed, or threatened to acquire,

use, or disclose Accenture’s trade secret information with full knowledge that this information

was acquired under circumstances giving rise to a duty to maintain its secrecy or limit its use and

was acquired by improper means.

       147.    Accenture has suffered and will continue to suffer damages and irreparable harm

as a direct and proximate result of Defendants’ misappropriation of Accenture’s trade secrets.

       148.    Unless   Defendants     are   preliminarily   and   permanently    enjoined    from

misappropriating, and/or threatening to misappropriate Accenture’s trade secrets, Accenture will

suffer irreparable harm for which there is no adequate remedy at law. Accenture is also entitled

to continuing injunctive relief for an additional reasonable period of time in order to eliminate

the commercial advantage that otherwise would be derived from the misappropriation and to

deter willful and malicious misappropriation.

       149.    Pursuant to the TUTSA, Accenture is entitled to recover damages for Defendants’

misappropriation in addition to injunctive relief. Accenture’s damages include both the actual

loss caused by Defendants’ misappropriation, which Accenture shall prove at trial, and also the

unjust enrichment caused by Defendants’ misappropriation that is not taken into account in

computing actual loss. In lieu of damages measured by any other methods, the damages caused

by Defendants’ misappropriation may also be measured by imposition of a reasonable royalty.

       150.    Defendants’ conduct constitutes willful and malicious misappropriation within the

meaning of the TUTSA. In wrongfully and intentionally misappropriating and threatening to

misappropriate Accenture’s trade secrets as outlined above, Defendants have demonstrated




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specific intent to cause substantial injury or harm to Accenture. As such, Accenture is entitled to

an award of exemplary damages and an award of its reasonable attorneys’ fees pursuant to the

TUTSA.

                                       COUNT III
                   BREACH OF THE INTELLECTUAL PROPERTY AGREEMENTS

       151.    Accenture realleges and restates all prior paragraphs as if fully restated herein.

       152.    The Intellectual Property Agreements signed by Defendants are valid and

enforceable contracts entered into in exchange for good and valuable mutual consideration.

       153.    The restrictive covenants in the Intellectual Property Agreements are reasonably

necessary to protect Accenture’s legitimate protectable business interests, including goodwill,

and are reasonable in terms of scope.

       154.    Accenture has fully performed every material obligation it owes to Defendants

under the Intellectual Property Agreements, including, without limitation, by providing

Defendants with the following: (i) continuing employment for significant period of time after the

execution of their Intellectual Property Agreements; (ii) confidential, proprietary, and trade

secret information; (iii) access to clients; and (iv) compensation and employment benefits.

       155.    The Intellectual Property Agreements prohibit Defendants from using, divulging,

disclosing, communicating, revealing, transferring, copying, or providing access to Accenture’s

confidential information, as described in the Intellectual Property Agreements.

       156.    Defendants have breached and threaten to continue to breach their Intellectual

Property Agreements by using, divulging, disclosing, communicating, revealing, transferring,

copying, and providing access to Accenture’s confidential information, as that term is defined in

the Intellectual Property Agreements.




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       157.    As a result, Defendants have breached, and will continue to breach, the

Intellectual Property Agreements.

       158.    Unless Defendants are preliminarily and permanently enjoined from violating the

terms of the Intellectual Property Agreements, Accenture will suffer irreparable and incalculable

harm, including the loss of proprietary and confidential information for which it can never be

compensated. No adequate remedy at law exists for these breaches.

                                      COUNT IV
                 BREACH OF THE CONDITIONS OF EMPLOYMENT AGREEMENTS

       159.    Accenture realleges and restates all paragraphs as if fully restated herein.

       160.    The Conditions of Employment Agreements signed by Defendants are valid and

enforceable contracts entered into in exchange for good and valuable mutual consideration.

       161.    The restrictive covenants in the Conditions of Employment Agreements are

reasonably necessary to protect Accenture’s legitimate protectable business interests, including

goodwill, and are reasonable in terms of scope.

       162.    Accenture has fully performed every material obligation it owes to Defendants

under the Conditions of Employment Agreements, including, without limitation, by providing

Defendants with the following: (i) continuing employment for significant period of time after the

execution of their Intellectual Property Agreements; (ii) confidential, proprietary, and trade

secret information; (iii) access to clients; and (iv) compensation and employment benefits.

       163.    The Conditions of Employment Agreements prohibit Defendants, for a period of

one year after the termination of their Accenture employment, from soliciting Accenture clients

or prospective clients, as described therein.

       164.    The Conditions of Employment Agreements further prohibit Boudria, McIntyre,

and Murray, for a period of eighteen (18) months and Todor for a period of one (1) year, after the



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termination of their Accenture employment, from soliciting Accenture employees to leave the

employ of Accenture, as described therein.

           165.   Boudria, McIntyre, and Murray’s Conditions of Employment Agreements also

prohibit them from, among other things, releasing, retaining, or utilizing any of Accenture’s or

its clients’ confidential information after the termination of their employment.

           166.   Defendants have breached and threaten to continue to breach their Conditions of

Employment Agreements by, among other wrongful acts: (a) taking part in the ongoing

solicitation of Accenture employees; and (b) taking part in the ongoing solicitation of Accenture

clients.

           167.   Boudria, McIntyre, and Murray have further breached and threaten to continue to

breach their Conditions of Employment Agreements by releasing, retaining, and utilizing

Accenture’s confidential information after the termination of their employment.

           168.   Accenture has suffered, and will continue to suffer, damages as a result of

Defendants’ breaches, as well as irreparable harm, including the loss of goodwill, client

relationships, and the stability of its workforce.

           169.   Unless Defendants are enjoined from violating the terms of the Conditions of

Employment Agreements, Accenture has suffered irreparable harm and, absent injunctive relief,

will continue to suffer irreparable and incalculable harm, including the loss of goodwill, client

relationships, and the stability of its workforce. No adequate remedy at law exists for these

breaches.

                                            COUNT V
                                    BREACH OF FIDUCIARY DUTIES

           170.   Accenture realleges and restates all prior paragraphs as if fully restated herein.




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           171.   Defendants, as employees of Accenture, owed fiduciary duties of loyalty, care,

and candor to Accenture. Accenture placed Defendants in positions of trust and confidence and

provided them with protectable, proprietary, and confidential information to use solely in

connection with their employment and work on behalf of Accenture’s clients and prospective

clients.

           172.   Defendants’ fiduciary duties included the obligation to deal honestly, loyally,

fairly, and openly with Accenture, and to not misappropriate confidential information, usurp

business opportunities and clients, or to solicit Accenture employees to resign in favor of

competitive employment.

           173.   Defendants breached their fiduciary duties to Accenture by, while still employed

by Accenture: (a) taking, retaining, and disclosing Accenture’s confidential information to

benefit themselves and other third parties whose business is competitive with that of Accenture;

(b) preparing to divert Accenture clients and business to a business competitive with that of

Accenture; (c) soliciting, encouraging, or inducing Accenture employees to terminate their

employment with Accenture in order to join a business competitive with that of Accenture; and

(d) performing services on behalf of a competing entity while employed by Accenture, including

using Accenture’s resources in doing so.

           174.   Defendants’ breaches were intentional, willful, and without just cause.

           175.   Defendants have benefited from the breach of their fiduciary duties to Accenture

and have been unjustly enriched, including by receiving Accenture’s proprietary and confidential

information, which Defendants are using to develop products and services and to solicit

Accenture clients.




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       176.    By reason of the foregoing, Defendants have directly and proximately caused

injury to Accenture, and Accenture has suffered, and continues to suffer, substantial injury as a

result of Defendants’ actions.

                                           COUNT VI
                                       CIVIL CONSPIRACY

       177.    Accenture realleges and restates all prior paragraphs as if fully restated herein.

       178.    The Defendants knowingly and intentionally acted together for the unlawful

purposes of: (a) misappropriating Accenture’s confidential and proprietary information in

violation of Defendants’ legal, contractual, and fiduciary duties; (b) soliciting employees from

Accenture in violation of Defendants’ contractual and fiduciary duties; and (c) soliciting clients

from Accenture in violation of Defendants’ contractual and fiduciary duties.

       179.    By misappropriating Accenture’s confidential and proprietary information and

soliciting Accenture employees and clients, Defendants committed unlawful, overt acts in

furtherance of Defendants’ unlawful objectives.

       180.    As a result of the conspiracy and acts in furtherance of the conspiracy, Accenture

has been damaged.

                                 REQUEST FOR JURY DEMAND

       181.    Accenture demands a trial by jury.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Accenture LLP prays for the following relief:

       (a)     Judgment in favor of Accenture and against Boudria, McIntyre, and Murray.

       (b)     Temporary, preliminary, and permanent injunctions:

               (i)    Enjoining Boudria, McIntyre, and Murray, and anyone acting in concert
                      with them, from using, copying, analyzing, or disseminating Accenture’s
                      proprietary, confidential, and/or trade secret information in any fashion;



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               (ii)    Requiring Boudria, McIntyre, and Murray immediately to return to
                       Accenture all information, data, files, and other property owned by or
                       licensed to Accenture in their possession, custody, or control;

               (iii)   Enjoining Boudria, McIntyre, and Murray, and those acting in concert
                       with them, from breaching their contractual obligations to Accenture as
                       contained in their respective Conditions of Employment Agreements and
                       Intellectual Property Agreements, including their confidentiality and non-
                       solicitation obligations; and

       (c)     Temporary and preliminary injunction:

               (i)     Enjoining Todor, and anyone acting in concert with him, from using,
                       copying, analyzing, or disseminating Accenture’s proprietary,
                       confidential, and/or trade secret information in any fashion;

               (ii)    Requiring Todor immediately to return to Accenture all information, data,
                       files, and other property owned by or licensed to Accenture in his
                       possession, custody, or control; and

               (iii)   Enjoining Todor, and those acting in concert with him, from breaching his
                       contractual obligations to Accenture as contained in his Conditions of
                       Employment Agreement and Intellectual Property Agreement, including
                       his confidentiality and non-solicitation obligations.

       (d)     An order requiring Boudria, McIntyre, and Murray to forfeit all of the

compensation they received from Accenture during the period of time they breached their

respective fiduciary duties to Accenture;

       (e)     Restitution and disgorgement of all ill-gotten gains unjustly obtained and retained

by Boudria, McIntyre, and Murray through the acts complained of herein;

       (f)     Award Accenture compensatory, incidental, consequential, exemplary, and

punitive damages in an amount to be determined at trial;

       (g)     Award Accenture its costs and expenses, including attorneys’ fees (including,

without limitation, attorneys’ fees pursuant to 18 U.S.C. § 1836 and TEX. CIV. PRAC. & REM.

CODE §§ 38.001, 134A.005); and

       (h)     Grant Accenture such other and further relief as the Court deems just and proper.



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Dated: October 24, 2017                     Respectfully submitted,


                                            ACCENTURE LLP

                                         By: /s/ Erin C. Villaseñor


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